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  13                         UNITED STATES DISTRICT COURT
  14                       CENTRAL DISTRICT OF CALIFORNIA
  15
  16   The Los Angeles Lakers, Inc.                 Case No. 2:21-cv-02281-TJH(MRWx)
  17                             Plaintiff,         FIRST AMENDED COMPLAINT
                                                    FOR
  18         vs.
                                                    1. DECLARATORY JUDGMENT;
  19   Federal Insurance Company
                                                    2. BREACH OF CONTRACT; and
  20                             Defendant.
                                                    3. BREACH OF THE IMPLIED
  21                                                COVENANT OF GOOD FAITH
                                                    AND FAIR DEALING.
  22
                                                    JURY TRIAL DEMANDED
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   1         1.     The novel coronavirus SARS-CoV-2, which is responsible for the
   2   COVID-19 disease, has caused the most devastating global pandemic in a century
   3   and inflicted untold human suffering. More than 700,000 Americans have died, and
   4   millions more have contracted the disease.
   5         2.     In addition to the human toll, the physical damage that the coronavirus
   6   has caused to properties is undeniable. Viral particles circulate through the air in
   7   crowded buildings; merge with particulates through chemical reactions; and
   8   contaminate ventilation and other building systems, vents, ductworks, and other
   9   structures with infectious particles. Those viral particles also fall on surfaces of
  10   fixtures and property throughout buildings, where the virus becomes adsorbed into
  11   and forms chemical bonds with those surfaces through physical, chemical, and
  12   electrostatic reactions. This process physically transforms those building surfaces in
  13   a number of ways, such as increasing the roughness and hydroscopic properties of
  14   those surfaces. And unless extensive physical repairs and alterations are made,
  15   when these viral particles are adsorbed into and become chemically integrated with
  16   building surfaces, these viral particles transform building property and fixtures from
  17   useful properties into dangerous conduits for the deadly virus that are known as
  18   fomites. If someone touches the fomite surfaces, the virus can be carried to his or
  19   her nose, mouth, or eyes, where it can enter the body and replicate.
  20         3.     The coronavirus damages properties by physically altering their
  21   condition such that they are no longer fit for occupancy or use without extensive
  22   physical repairs and alterations necessary to repair the damage and make the
  23   properties safe. In structures like sports arenas, the purpose of which is to hold
  24   thousands of people comfortably but compactly, once the coronavirus is present,
  25   substantial physical alterations and repairs to the property must be made to prevent
  26   ongoing and future property damage and protect public health and safety. Without
  27   such physical repairs and alterations, the virus would continue to damage the air and
  28   make it unsafe to breathe, and attach itself to and physically change the condition of
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   1   building surfaces and make them unsafe. Without physical alterations, the virus
   2   would contaminate building systems, such as ventilation and plumbing.
   3         4.     The coronavirus was physically present at the Staples Center and
   4   surrounding properties, and at the UCLA Health Training Center. The actual
   5   presence of the virus physically damaged those properties. Viral particles were
   6   released into the air by infected persons in those buildings who were breathing,
   7   shouting, engaged in physical exertion and athletic activities, singing, coughing, and
   8   speaking. The virus was contained in respiratory droplets and aerosols that
   9   circulated throughout the structures through indoor airflow and ventilation and air
  10   circulation systems. The viral particles were adsorbed into particulates, dirt and
  11   other particles also circulating in the air when chemical reactions caused the viral
  12   spike proteins to bond chemically with those particles.
  13         5.     These infectious viral particles contaminated building systems at the
  14   Staples Center and surrounding properties, and at the UCLA Health Training
  15   Center, such as vents and ductworks of building air and HVAC systems into which
  16   viral particles became adsorbed through physical, chemical, and electrostatic
  17   reactions. These viral particles dispersed throughout the arena, adjacent metro
  18   stations, and training facilities, and fell onto the surfaces of fixtures and other
  19   property in those buildings, such as seats, counters, railings, stairs and flooring,
  20   tables, food and beverage vending areas, elevators and control panels, restrooms,
  21   toilets, faucets and other frequently-touched areas. Upon reaching these surfaces,
  22   the viral particles also became adsorbed into the surfaces and cracks through
  23   physical, chemical, and electrostatic reactions causing the viral particles to bond
  24   with these surfaces. The adsorption and resulting chemical bonding of viral
  25   particles into surfaces throughout the buildings damaged the surfaces of these
  26   fixtures, furniture, and systems by making them rougher and more hydrophobic, and
  27   transforming those property surfaces into virus-contaminated fomites through which
  28   the virus spread.
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   1         6.     Extensive repairs and physical alterations of these properties were
   2   necessary to repair the damage caused by the actual presence of the virus, make
   3   them fit for occupancy, and create a safe environment for fans to attend. For
   4   example, at the Staples Center, repairs and physical alterations to ventilation and air
   5   circulation systems were made to reduce the airborne spread of the virus. Fixtures,
   6   furniture and other surfaces were either repaired, coated with protective materials to
   7   prevent adsorption of viral particles, or replaced with touchless equipment to
   8   prevent further viral contamination. These repairs and physical alterations were
   9   implemented over many months to repair these facilities to pre-loss condition,
  10   prevent further damage to the property and public health by the virus, and allow
  11   these world-class venues to return to pre-loss operation safely. Only then were the
  12   arena and training facility, which had been closed for months by continuing state
  13   and local governmental orders, allowed to reopen.
  14         7.     The economic impact of the virus has paralleled its devastating health
  15   effects and property losses. Countless small businesses across the country closed
  16   their doors without any hope of reopening. Economists reckon the coronavirus has
  17   worked a destruction of capital more severe even than the Great Recession.
  18         8.     Meanwhile, the Chubb insurance company is making billions of dollars
  19   in profits. For the six months ending June 30, 2021, Chubb’s profits were $4.5
  20   billion dollars higher than they were during the first half of 2020. From March 10,
  21   2020 to today, Chubb’s stock price has risen approximately 25 percent.
  22         9.     Why is Chubb so flush when many American businesses are in
  23   desperate straits? The reason is simple. Chubb’s coffers are filled with the
  24   premiums paid by its customers—the same customers for whom Chubb has refused
  25   to pay out on “all-risk” policies that cover losses on all of an insured’s risks except
  26   those expressly excluded from the contract. Many of Chubb’s all-risk policies
  27   include so-called “virus exclusions” that, at least since the SARS outbreak of several
  28   years ago, were added to policies with the aim of excluding losses caused by viral
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   1   pandemics. Other Chubb policies, however—including the one the Lakers
   2   purchased and that forms the subject of this suit—include no such exclusion. In
   3   other words, the Lakers’ policy covers losses occasioned by pandemics
   4   like COVID-19.
   5         10.    Chubb, meanwhile, has refused to pay on either type of policy, virus
   6   exclusion or not. In fact, Chubb curtly dismissed the Lakers’ claim with a form
   7   letter and without conducting any investigation into the facts. Worse yet, it has
   8   refused to pay its customers as a matter of policy on the orders of its CEO, instead
   9   pushing the false narrative that losses from COVID are somehow not covered
  10   claims. This lawsuit is compelled by that callous and legally untenable response.
  11                              NATURE OF THE ACTION
  12         11.    This action arises out of Chubb’s wrongful failure to provide insurance
  13   coverage to The Los Angeles Lakers, Inc. for substantial losses resulting from
  14   physical damage to its property caused by the presence of the coronavirus 1 SARS-
  15   CoV-2 on property owned or used by the Lakers, and governmental shut-down
  16   orders forbidding access to the property as a result thereof. The Lakers seek to hold
  17   Chubb responsible for its wrongful conduct by recovering damages for breach of
  18   contract and breach of the duty of good faith and fair dealing, as well as obtaining
  19   declarations that Chubb must provide the Lakers with the coverage it promised and
  20   for which the Lakers paid Chubb.
  21         12.    The Los Angeles Lakers, Inc. owns and operates the Los Angeles
  22   Lakers basketball team. The Lakers are one of the most successful and storied
  23   teams in all of professional sports, winning a record-tying 17 NBA championships,
  24   including the 2019-2020 title in October 2020.
  25
  26
       1
         Although there are many types of coronavirus, references to “the coronavirus” in
  27   this complaint refer to SARS-CoV-2, which causes a disease known as “COVID-
  28   19.”
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   1         13.    Each year, thousands of fans attend Lakers’ home games to cheer on
   2   the team and celebrate its success with their fellow fans. The Lakers earn hundreds
   3   of millions of dollars in annual revenue from home games, both during the regular
   4   season and after, boosted by deep playoff runs.
   5         14.    The Lakers have always faced the risk that they would be unable to
   6   host home games because of a dangerous condition at their home arena—the Staples
   7   Center—or a governmental order resulting from a dangerous condition nearby.
   8         15.    The Lakers protected themselves against these risks by purchasing
   9   insurance from Chubb, through an entity in the Chubb corporate family called
  10   Federal Insurance Company. 2 Chubb holds itself out to the public as being
  11   “different” from other insurance companies because “we honor the promises we’ve
  12   made to you.” “[W]e don’t just process claims,” Chubb promises, “we make
  13   things right.”
  14         16.    The Lakers purchased a broad commercial property insurance policy
  15   from Chubb in August 2019, paying a $145,052 premium. The policy covers
  16   “Business Income and Extra Expense” losses incurred by the Lakers because of
  17   physical loss or damage to property. This is known as “business interruption”
  18   coverage in the insurance industry. The policy also covers business income losses
  19   and expenses incurred because of an order from civil authorities prohibiting access
  20   to the Staples Center, prompted by physical loss or damage to nearby property.
  21         17.    The policy the Lakers purchased from Chubb is called an “all-risk”
  22   policy. All-risk policies protect against all risks of loss except those explicitly
  23   excluded from coverage. By contrast, a “specific peril” policy is limited to risks of
  24   loss that are specifically enumerated; e.g., an earthquake, hurricane, or fire. Unlike
  25
  26
       2
        Defendant Federal Insurance Company is referred to in this complaint as “Chubb,”
  27
       and references to statements made by Chubb in this complaint include the defendant
  28   Federal Insurance Company and its parent and affiliates.
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   1   some of the insurance policies Chubb has sold to other customers, the Lakers’ policy
   2   with Chubb does not exclude losses caused by viruses or communicable disease.
   3          18.    Since well before the pandemic, Chubb’s annual reports filed with the
   4   U.S. Securities and Exchange Commission have stated: “We have substantial
   5   exposure to losses resulting from . . . catastrophic events, including pandemics.”
   6   (Emphasis added.) Chubb identified as a risk to its business, “infection rates and
   7   severity of pandemics and their effects on our business operations and
   8   claims activity.” 3
   9          19.    The Lakers reasonably expected that if damage to the arena from a
  10   virus or communicable disease made it impossible to safely host games with fans in
  11   attendance, or if civil authorities prohibited games from going forward, Chubb
  12   would provide the coverage it had promised and for which they had paid.
  13          20.    The Lakers experienced precisely the type of losses for which they
  14   purchased insurance. In early March 2020, it was confirmed that the coronavirus
  15   was present at the Staples Center. On March 11, 2020, the NBA suspended its
  16   season due to the coronavirus. The season only resumed months later without fans
  17   in attendance.
  18          21.    The State of California, Los Angeles County, and the City of Los
  19   Angeles also all independently issued orders that prohibited the Lakers from
  20   hosting fans at home games at the Staples Center.
  21          22.    As a result, the Lakers suffered tens of millions of dollars in lost
  22   revenue from ticket sales, media rights, sponsorships, and other sources of revenue.
  23   The Lakers then turned to Chubb to provide the coverage for which they
  24   had contracted.
  25          23.    Chubb has prohibited its claim handlers from determining whether the
  26   coronavirus caused physical loss or damage to the property of individual
  27   3
        See, e.g., Chubb 2019 Annual Report and Chubb 2019 10-K; Chubb 2018 Annual
  28   Report and Chubb 2018 10-K.
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   1   policyholders—thus triggering business interruption coverage—and instead has
   2   instructed them to deny all such claims on a blanket basis. This direction appears to
   3   have come from the very highest levels at Chubb.
   4         24.    On an April 22, 2020 shareholders call, the Chairman and CEO of
   5   Chubb stated that Chubb would fight business interruption claims “tooth and nail”
   6   by contesting that the virus caused “direct physical loss or damage” to property.
   7         25.    Chubb wrongly denied coverage to the Lakers, taking the position that
   8   the coronavirus did not cause any “direct physical loss or damage” at the Staples
   9   Center—having, of course, conducted no investigation before reaching
  10   that conclusion.
  11         26.    Chubb further maintains that the civil orders prohibiting the Lakers
  12   from hosting games with fans in attendance were not the result of any “direct
  13   physical loss or damage.” Yet orders from government authorities mandating a
  14   shut-down themselves state they were issued because the coronavirus “is physically
  15   causing property loss or damage” 4 and were necessary for the protection of “life
  16   and property.” (Emphases added.)
  17         27.    Because Chubb has denied coverage wrongfully and in bad faith, the
  18   Lakers seek recovery from Chubb for their covered losses under the insurance
  19   policy, the reasonable attorneys’ fees they incur in prosecuting this action, and
  20   punitive damages.
  21                                      THE PARTIES
  22         28.    The Los Angeles Lakers, Inc. is a California corporation with its
  23   principal place of business in Los Angeles County, California.
  24         29.    Federal Insurance Company is an Indiana corporation with its principal
  25   place of business in New Jersey. It is an entity in the Chubb corporate family. At
  26
  27   4
         See March 19, 2020 Los Angeles Safer at Home Order, as revised April 1, 2020
  28   (attached as Exhibit B).
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   1   all relevant times, Chubb was licensed to transact and did transact insurance
   2   business in this judicial district.
   3                               JURISDICTION AND VENUE
   4          30.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332
   5   because there is complete diversity of citizenship between the Lakers and Chubb,
   6   and the amount in controversy exceeds $75,000 without counting interest and costs.
   7          31.    This Court has personal jurisdiction over Chubb because it is licensed
   8   to issue insurance coverage in California, has made continuous and systematic
   9   contacts with California, and issued the insurance policy to the Lakers in California.
  10          32.    Venue is proper under 28 U.S.C. § 1391(b) because the events giving
  11   rise to the claims occurred here, including Chubb issuing the insurance policy
  12   to the Lakers.
  13                                FACTUAL ALLEGATIONS
  14          A.     The Lakers Purchase Broad Coverage from Chubb to Insure
  15                 Against Property and Business Interruption Losses
  16          33.    The Lakers face a substantial business risk if they cannot host games
  17   with fans at the Staples Center because of a dangerous physical condition at the
  18   property or a civil order prohibiting access. Under these circumstances, the Lakers
  19   are deprived of core sources of revenue, including ticket and suite sales; television,
  20   radio, and other media rights; sponsorships and advertising; concessions;
  21   merchandise sales; and parking fees.
  22          34.    To protect against this risk, the Lakers obtained comprehensive
  23   insurance from Chubb. Chubb holds itself out as a more dependable partner than its
  24   competitors. It claims to be an insurer policyholders can depend on to pay valid
  25   claims promptly and fully, rather than looking for excuses to avoid or
  26   limit coverage.
  27          35.    Chubb’s website provides the following response to the question, “How
  28   is Chubb different?”
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                    We don’t just process claims, we make things right.
    1
    2               We hope you never need to file a claim with us. But if you do,
                    that’s our opportunity to show you what “craftsmanship” means
    3               in service to you. It means a quick response when you need it
    4               most.     It means Chubb people working with empathy,
                    integrity[,] and our legendary attention to detail to make you
    5               whole. It means we honor the promises we’ve made to you.
    6               Your loved ones, your employees, your home, your business
                    reputation—these things matter. These things are personal, for
    7               you and for us. We’re here to help.
    8         36.    Chubb’s website also touts its superior claims handling:
    9               The insurance claims process can sometimes be, well, a
   10               process. At Chubb, it’s different. That’s because we’re not just
                    in the insurance business, we’re in the people business. Our
   11               experienced claims specialists are relentless about every detail
   12               in the most personal way possible. Whether you have a
                    business, homeowners[,] or auto policy, it’s our policy to make
   13               your life easier.
   14         37.    The Lakers purchased a broad commercial property policy from Chubb
   15   bearing policy number 3575-77-70 LIO for the period August 1, 2019 to August 1,
   16   2020. It is attached as Exhibit A.
   17         38.    The limit of the Chubb policy for property damage is $89,364,563. Its
   18   limit for business interruption losses is $47,600,000. (See Ex. A (“Policy”) at
   19   “Premises Coverages—Blanket Limits.”) The Policy covers “direct physical loss or
   20   damage to” specified covered buildings and personal property. (See Policy at
   21   Building And Personal Property Form 80-02-1000 (Rev. 3-19) at page 3.) The
   22   Staples Center (located at 1111 S. Figueroa Street, Los Angeles, California 90015)
   23   is a covered property.
   24         39.    The Lakers paid all premiums under the Policy, totaling $145,052, and
   25   Chubb accepted them.
   26         40.    Chubb drafted the Policy.
   27
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    1         41.      The Policy covers the Lakers for business income losses and expenses
    2   incurred by “direct physical loss or damage” to their covered property. The
    3   Policy says:
    4               We will pay for the actual:
    5
                    • business income loss you incur due to the actual impairment
    6               of your operations; and
    7
                    • extra expense you incur due to the actual or potential
    8               impairment of your operations,
    9
                    during the period of restoration, not to exceed the applicable
   10               Limit of Insurance for Business Income With Extra Expense
   11               shown in the Declarations.
   12
                    This actual or potential impairment of operations must be
   13               caused by or result from direct physical loss or damage by a
                    covered peril to property, unless otherwise stated.
   14
   15   (See Policy at Business Income With Extra Expense Form 80-02-1004

   16   (Rev. 3-19) at page 3) (emphases in original).

   17         42.      The “period of restoration” begins “immediately after the time of direct

   18   physical loss or damage by a covered peril to property” and “continu[es] until [the

   19   Lakers’] operations are restored, with reasonable speed, to the level which would

   20   generate the business income amount that would have existed if no direct physical

   21   loss or damage occurred.” (See Policy at Property/Business Income Conditions and

   22   Definitions Form 80-02-1097 (Rev. 3-19) at page 21) (emphases in original).

   23         43.      The “period of restoration” for business interruption coverage includes

   24   time that business is interrupted “to comply with any ordinance or law.” In other

   25   words, so long as the law requires the Lakers’ covered property to remain closed

   26   after a virus outbreak, the period of restoration continues.

   27         44.      The Chubb Policy also specifically includes “Civil Authority”

   28   coverage. Civil authority coverage is for business income losses and expenses “due
                                                   10
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    1   to the actual . . . impairment of your operations, directly caused by the prohibition of
    2   access to” the specified covered property by a government entity (i.e., a civil
    3   authority), provided that the “prohibition of access by a civil authority must be the
    4   direct result of direct physical loss or damage to property” away from but within one
    5   mile of the Lakers’ covered property. (See Policy at Business Income With Extra
    6   Expense Form 80-02-1004 (Rev. 3-19) at page 6).
    7         45.    These provisions taken together provide comprehensive coverage for
    8   government orders that bar the public from entering a covered property. If the order
    9   is the result of direct physical loss or damage at the property itself, business
   10   interruption losses are covered by the Policy’s business interruption coverage, with
   11   the period of restoration continuing until ordinary operations are restored, including
   12   as long as the government requires the business to stay closed. If the government
   13   order shuts down the property because of damage to other properties within one
   14   mile, then civil authority coverage applies. And if the government order is the result
   15   of both on-site and nearby direct physical loss or damage, both provisions apply.
   16         46.    The insurance industry, including Chubb, has long known that viruses
   17   and communicable diseases can cause physical damage to property. Most insurers,
   18   including Chubb, have created contractual “virus exclusions” to avoid providing
   19   coverage for these losses, which would otherwise be covered. Chubb has included
   20   virus exclusions in other insurance agreements. However, the Policy that Chubb
   21   sold to the Lakers does not exclude loss or damage caused by viruses,
   22   communicable diseases, or pandemics.
   23         47.    A broad form virus exclusion provision was developed by the
   24   Insurance Services Office, Inc. or “ISO.” ISO is an insurance industry trade
   25   organization that among other things develops model provisions that insurance
   26   companies, including Chubb, use in the policies they issue. In preparing its virus
   27   exclusion provision, the ISO circulated a statement to state insurance regulators on
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    1   behalf of its insurance company members and clients, including Chubb.
    2   It acknowledged:
    3               Disease-causing agents may render a product impure (change
                    its quality or substance), or enable the spread of disease by their
    4               presence on interior building surfaces or the surfaces of
    5               personal property. When disease-causing viral or bacterial
                    contamination occurs, potential claims involve the cost of
    6               replacement of property (for example, the milk), cost of
    7               decontamination (for example, interior building surfaces), and
                    business interruption (time element) losses. Although building
    8
                    and personal property could arguably become contaminated
    9               (often temporarily) by such viruses and bacteria, the nature of
                    the property itself would have a bearing on whether there is
   10
                    actual property damage. An allegation of property damage may
   11               be a point of disagreement in a particular case.
   12
              48.    The ISO stated it was creating the new exclusion to protect its
   13
        members. The “specter of [a] pandemic or hitherto unorthodox transmission of
   14
        infectious material,” warned the ISO circular, made it so insurers without a virus
   15
        exclusion “may face claims.”
   16
              49.    The Policy the Lakers purchased from Chubb does not contain a
   17
        virus exclusion.
   18
              50.    Chubb also created a communicable disease exclusion no later than
   19
        March 2019 – prior to the COVID pandemic – which Chubb included in some
   20
        policies but, again, not the Lakers’ Policy. Although Chubb could have added this
   21
        exclusion in 2019, it chose to wait until May 2021 – after this Loss – before
   22
        including it in the Lakers’ renewal policy providing coverage in 2021 and 2022. On
   23
        May 7, 2021 – barely a week after Chubb moved to dismiss the Lakers’ original
   24
        complaint in this action – Chubb sent the Lakers a “Notice of Conditional Renewal”
   25
        for Policy 3575-77-70 LIO. The notice stated that Chubb’s new “Communicable
   26
        Disease Contamination endorsement will be added to [the Lakers’] policy,” and that
   27
        the endorsement “includes a Communicable Disease exclusion and a premises
   28
                                                   12
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    1   coverage that applies to extraordinary costs to clean up or remove a communicable
    2   disease present at the premises and resulting business income loss . . . .” Should the
    3   Lakers suffer business income losses from another pandemic, the policy’s coverage
    4   is now “subject to a $1,000 annual aggregate limit.”
    5         51.        Chubb’s communicable disease exclusion is not, however, included in
    6   the Policy that covers the current Loss. If the presence of a virus or communicable
    7   disease at a property could not cause physical loss or damage, the exclusion would
    8   be unnecessary and illusory. Its existence confirms that Chubb understood full well
    9   that if property was damaged, such as being rendered physically unusable, due to the
   10   presence of a virus at that property, that condition would constitute covered physical
   11   damage.
   12         52.        Because the Lakers’ “all-risk” policy with Chubb contained no
   13   provision excluding losses caused by the coronavirus (or any virus or communicable
   14   disease of any sort) and the subsequent actions of civil authorities, the Lakers
   15   reasonably expected that the “all-risk” Policy they purchased from Chubb would
   16   cover these losses.
   17         B.         The Lakers Have Incurred Substantial Losses that the
   18                    Policy Covers
   19               i.         SARS-CoV-2 and the Loss and Damage It Causes to
   20                          Property
   21         53.        Coronaviruses are a family of viruses that can cause illnesses ranging
   22   from the common cold to deadly diseases like severe acute respiratory syndrome
   23   (SARS) and Middle East respiratory syndrome (MERS). In late 2019, a new
   24   coronavirus was identified as causing a disease outbreak in China. It was later
   25   named COVID-19 and the virus designated as SARS-CoV-2.
   26         54.        Although viruses are invisible to the naked eye, or even under a
   27   standard optical microscope of the sort used in high school classrooms, electron
   28   microscopy has revealed the physical structure of individual virus particles, also
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    1   known as “virions.”
    2         55.   Individual virions of SARS-CoV-2 have been photographed by the
    3   National Institute of Allergy and Infectious Disease using scanning electron (Figure
    4   1) and transmission electron microscopes (Figure 2).
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   15    Figure 1: SEM image of SARS-Cov-2 Figure 2: TEM image of individual
         virions (in blue) emerging from SARS-CoV-2 virion, taken by NIAID
   16
         surface of cell, taken by NIAID
   17
   18
   19         56.   Since being identified in late 2019, SARS-CoV-2 has spread rapidly
        throughout the world. The first documented case of coronavirus in Los Angeles was
   20
        observed on January 22, 2020, and community spread in Los Angeles was identified
   21
        in March. Unbeknownst to the Lakers and many others at the time, however,
   22
        scientific analysis shows the virus was widespread in the community as early as
   23
        December 2019. As UCLA researchers discovered after the fact, from December
   24
        2019 to February 2020, 50 percent more patients reported to UCLA Health hospitals
   25
        and clinics with coughs and acute respiratory failure than had been seen during the
   26
        corresponding periods, averaged over the five prior years. By February 2020,
   27
        doctors across Los Angeles County were reporting an unexpected rise in patients
   28
                                                 14
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    1   with flu-like illnesses, even as actual influenza rates were dropping. Health officials
    2   have subsequently identified this trend as an outbreak of the coronavirus in
    3   the community.
    4         57.    Each coronavirus virion is a physical object with a material existence
    5   that can survive outside the human body in viral fluid particles that, like the virion
    6   itself, cannot be seen by the naked eye. As with other small particles, the physical
    7   viruses linger in the air, traveling on air currents until they attach to an object or
    8   other surface.
    9         58.    The coronavirus is so named because its physical appearance resembles
   10   a corona or crown. SARS-CoV-2 is spherical, with clubs or spikes protruding
   11   uniformly from the outer surface. The spikes on the outside of the virus are
   12   composed of proteins, which the coronavirus uses to bond with and invade human
   13   cells. But when these “spike proteins” are not bound to a human receptor, they
   14   nonetheless impact how the coronavirus interacts with other substances, including
   15   property.
   16         59.    The spike proteins are made up of different amino acids, which, by
   17   virtue of their molecular structure, have distinct chemical properties and carry an
   18   electric charge. These chemical and electric properties dictate how the coronavirus
   19   behaves in the air and on surfaces. See Lei Xie et al., A Nanomechanical Study on
   20   Deciphering the Stickiness of SARS-CoV-2 on Inanimate Surfaces, 12 ACS APPLIED
   21   MATERIALS & INTERFACES 58360 (Dec. 18, 2020).
   22         Damage to Buildings, Fixtures, and Building Systems Through Airborne
   23         Dispersal of Viral Particles
   24         60.    A person can contract the coronavirus from (i) exposure to respiratory
   25   droplets when an infected person coughs, talks, shouts, or sings; (ii) aerosols
   26   produced by normal breathing; or (iii) by touching an infected surface, otherwise
   27   known as a “fomite.”
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    1            61.   SARS-CoV-2 is released into the air when infected persons breathe,
    2   talk, cough, sneeze, or sing, and a person can contract COVID-19 by breathing in
    3   infected respiratory droplets. In the absence of remedial measures like those
    4   implemented at the Staples Center, see ¶¶ 93-94, the risk of airborne transmission
    5   increases dramatically indoors. Indeed, the majority of SARS-CoV-2 clusters have
    6   been linked to indoor settings. Typical climate-controlled conditions indoors
    7   (moderate temperature and low humidity), such as those found at the properties in
    8   this case, are favorable for virus stability and survival in the air and on surfaces and
    9   objects in the building.
   10            62.   Humans produce a wide range of particle sizes when coughing,
   11   sneezing, talking, singing, or otherwise dispersing droplets, with pathogens
   12   predominating in the smallest particles. Respiratory particles produced by the
   13   average person can travel almost 20 feet by sneezing. Kevin P. Fennelly, Particle
   14   Sizes of Infectious Aerosols: Implications for Infection Control, 8 LANCET
   15   RESPIRATORY MED. 914 (July 24, 2020). An M.I.T. researcher has found that virus-
   16   laden “clouds” containing clusters of droplets can travel 23 to 27 feet. Lydia
   17   Bourouiba, Turbulent Gas Clouds and Respiratory Pathogen Emissions: Potential
   18   Implications for Reducing Transmission of COVID-19, 323 JAMA 1837 (Mar. 26,
   19   2020).
   20            63.   That the coronavirus can be transmitted through aerosols makes it
   21   particularly dangerous. Unlike larger droplets, which quickly fall to the ground or
   22   nearby surfaces, aerosols behave more like smoke. After being expelled, they
   23   disperse through the air, to be inhaled by anyone present on the property, circulating
   24   through air flow and spreading the virus. Since the diameter of SARS-CoV-2 viral
   25   particles themselves is roughly 100 nanometers (i.e., 0.1 microns), even a 5-micron
   26   respiratory droplet can easily contain thousands of viral particles.
   27            64.   Because COVID-19 spreads throughout a property in airborne particles,
   28   it damages building systems, spreads through indoor air flow, and contaminates
                                                   16
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    1   property throughout a structure. Without proper modifications and added equipment
    2   in place, aerosols containing COVID-19 recirculate through building systems, such
    3   as air circulation and plumbing systems, thereby contaminating those systems and
    4   spreading the virus to other surfaces and fixtures throughout the building. Gil
    5   Correia et al., Airborne Route and Bad Use of Ventilation Systems as Non-
    6   Negligible Factors in SARS-CoV-2 Transmission, 141 MED. HYPOTHESES 1 (Apr.
    7   21, 2020).
    8         65.      The scientific community has studied the spread of the coronavirus
    9   through aerosols in indoor settings through air circulation and ventilation systems in
   10   real world settings, and confirmed the physical damage that the coronavirus can
   11   cause to those systems. For example:
   12               • The CDC published a research letter concluding that a restaurant’s air
   13                  conditioning system triggered the transmission of the coronavirus,
   14                  spreading it to people who sat at separate tables downstream of the
   15                  restaurant’s airflow. See Jianyun Lu et al., COVID-19 Outbreak
   16                  Associated with Air Conditioning in Restaurant, Guangzhou, China,
   17                  2020, 26 EMERGING INFECTIOUS DISEASES 1628 (July 2020); see also
   18                  Keun-Sang Kwon et al., Evidence of Long-Distance Droplet
   19                  Transmission of SARS-CoV-2 by Direct Air Flow in a Restaurant in
   20                  Korea, 35 J. KOR. MED. SCI. 1 (Nov. 23, 2020).
   21               • A study detected coronavirus inside the HVAC system connected to
   22                  hospital rooms of patients sick with COVID-19. The study found the
   23                  coronavirus in ceiling vent openings, vent exhaust filters and ducts
   24                  located as much as 56 meters (over 183 feet) from the rooms of the sick
   25                  COVID-19 patients. Karolina Nissen et al., Long-Distance Airborne
   26                  Dispersal of SARS-CoV-2 in COVID-19 Wards, 10 SCI. REP. (Nov. 11,
   27                  2020).
   28               • A study detected a cluster of coronavirus cases associated with a
                                                   17
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    1                  shopping mall in Wenzhou, China, likely resulting from virus
    2                  contamination of common objects though virus aerosols in a confined
    3                  space. See Jing Cai et al., Indirect Virus Transmission in Cluster of
    4                  COVID-19 Cases, Wenzhou, China, 2020, 26 EMERGING INFECTIOUS
    5                  DISEASES 1343 (June 2020).
    6         66.      On May 7, 2021 the CDC issued a scientific brief warning of the risks
    7   of airborne indoor transmission from aerosols at distances greater than six feet from
    8   the source, stating that “transmission of SARS-CoV-2 from inhalation of virus in the
    9   air farther than six feet from an infectious source can occur” and that:
   10         Although infections through inhalation at distances greater than six
   11         feet from an infectious source are less likely than at closer distances,
   12         the phenomenon has been repeatedly documented under certain
   13         preventable circumstances.           These transmission events have
   14         involved the presence of an infectious person exhaling virus indoors
   15         for an extended time (more than 15 minutes and in some cases
   16         hours) leading to virus concentrations in the air space sufficient to
   17         transmit infections to people more than 6 feet away, and in some
   18         cases to people who have passed through that space soon after the
   19         infectious person left. Per published reports, factors that increase
   20         the risk of SARS-CoV-2 infection under these circumstances
   21         include:
   22               • Enclosed spaces with inadequate ventilation or air handling
   23                  within which the concentration of exhaled respiratory fluids,
   24                  especially very fine droplets and aerosol particles, can build-
   25                  up in the air space.
   26               • Increased exhalation of respiratory fluids if the infectious
   27                  person is engaged in physical exertion or raises their voice
   28                  (e.g., exercising, shouting, singing).
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    1                  • Prolonged exposure to these conditions, typically more than
    2                    15 minutes.
    3   See CDC, How COVID-19 Spreads, https://www.cdc.gov/coronavirus/2019-
    4   ncov/prevent-getting-sick/how-covid-spreads.html (last updated Oct. 28, 2020); see
    5   also CDC, SARS-CoV-2 Transmission, https://www.cdc.gov/coronavirus/2019-
    6   ncov/science/science-briefs/sars-cov-2-transmission.html (last updated May 7,
    7   2021).
    8            67.     The CDC has recommended “ventilation interventions” to help reduce
    9   exposure to the airborne virus in indoor spaces, including increasing airflow and
   10   replacing and improving air filtration (such as with high-efficiency particulate air
   11   (HEPA) fan/filtration systems). See CDC, Ventilation in Buildings,
   12   https://www.cdc.gov/coronavirus/2019-ncov/community/ventilation.html (last
   13   updated June 2, 2021). These and other remedial measures must be implemented,
   14   at high cost and extra expense, to reduce the amount of coronavirus present in the
   15   space and to make property safe for its intended use.
   16            Damage to Buildings and Surfaces of Fixtures and Property From
   17            Physical, Chemical, and Electrostatic Reactions Between Viral Particles
   18            and Surface Materials That Physically Alter Those Properties and
   19            Surfaces
   20            68.     COVID-19 is also transmitted to people from physical objects,
   21   materials or surfaces. “Fomites” are physical objects or materials that carry, and
   22   are capable of transmitting, infectious agents, altering these objects to become
   23   vectors of disease. “[C]ontaminated surfaces play a key role in the spread of viral
   24   infections.” Yang Xin et al., Adsorption of SARS-CoV-2 Spike Protein S1 at Oxide
   25   Surfaces Studied by High-Speed Atomic Force Microscopy, 1 ADVANCED
   26   NANOBIOMED RES. 1 (Dec. 9, 2020). Fomite transmission has been demonstrated as
   27   highly efficient for viruses, both from object-to-hand and from hand-to-mouth. See
   28   Jing Cai et al., Indirect Virus Transmission in Cluster of COVID-19 Cases,
                                                    19
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    1   Wenzhou, China, 2020, 26 EMERGING INFECTIOUS DISEASES 1343 (June 2020).
    2         69.    Small viral droplets can remain airborne almost indefinitely under most
    3   indoor conditions and, like smoke, can travel long distances with air currents.
    4   Whatever their size, however, virus-containing droplets eventually encounter
    5   physical objects and surfaces and settle onto them. When this occurs, respiratory
    6   aqueous droplets that contain virus droplets adhere to those physical objects and
    7   surfaces through a series of physical, chemical, and electrostatic reactions in a
    8   process called adsorption.
    9         70.     Adsorption occurs when the surfaces and internal capillaries and
   10   crevices of solid substances attract to their surfaces’ molecules of gases or solutions
   11   with which they are in contact. Adsorption occurs through both physical and
   12   chemical reactions. Physical adsorption resembles the condensation of gases to
   13   liquids and depends on the physical (van der Waals) force of attraction between the
   14   solid surface and the viral molecules. In chemical adsorption, gases are bound to a
   15   solid surface by chemical forces that are specific for each surface and each gas.
   16         71.    Viral particles adsorbed to a host surface form an actual chemical bond
   17   between the viral particle and the surface. This differs from materials that merely
   18   are deposited onto a surface, such as dust, where no such chemical bond is formed.
   19   Once such a chemical bond is formed, the virus is difficult to detach from the
   20   surface of the property.
   21         72.    Depending on pH levels, the carboxyl amino groups found on SARS-
   22   CoV-2 spike proteins form hydrogen bonds with substances containing oxygen or
   23   hydroxyls, such as wood, cotton or glass. Certain positively charged amino acid
   24   structures, which are also found on coronavirus spike proteins, bind with negatively
   25   charged metallic surfaces. Edris Joonaki et al., Surface Chemistry Can Unlock
   26   Drivers of Surface Stability of SARS-CoV-2 in a Variety of Environmental
   27   Conditions, 6 CHEM 2135 (Sept. 2020). Depending on the ambient humidity,
   28   moisture levels on different property surfaces may augment chemical interactions
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    1   between coronavirus spike proteins and the specific property exposed to the virus.
    2   Various endogenous polymeric molecules present in respiratory droplets (such as
    3   polysaccharides and proteins) act as a “bridge” binding the virus to the surface. Lei
    4   Xie et al., A Nanomechanical Study on Deciphering the Stickiness of SARS-CoV-2
    5   on Inanimate Surfaces, 12 ACS APPLIED MATERIALS & INTERFACES 58360 (Dec. 18,
    6   2020). Also, electrostatic attraction between the surface and the virus plays a role in
    7   addition to basic gravity. Yang Xin et al., Adsorption of SARS-CoV-2 Spike Protein
    8   S1 at Oxide Surfaces Studied by High-Speed Atomic Force Microscopy, 1
    9   ADVANCED NANOBIOMED RES. 1 (Dec. 9, 2020). Porous objects like fabrics
   10   represent a special case because they entrap viral particles, thus making them hard to
   11   access, inactivate, or remove. In this case, the original respiratory droplets are first
   12   adsorbed by the fabric; once their surrounding water subsequently evaporates, the
   13   viral particles become embedded and entangled within the bulk of the object.
   14         73.      When viral spike proteins bind with property surfaces through physical
   15   and chemical adsorption, those surfaces change physically in several ways.
   16               • First, as discussed above, the chemical composition of those surfaces
   17                  changes based on the chemical reactions between the surfaces and the
   18                  viral particles’ spike proteins.
   19               • Second, when these physical and chemical reactions occur through
   20                  adsorption, surface roughness is measurably increased. Lei Xie et al.,
   21                  A Nanomechanical Study on Deciphering the Stickiness of SARS-CoV-2
   22                  on Inanimate Surfaces, 12 ACS APPLIED MATERIALS & INTERFACES
   23                  58360 (Dec. 18, 2020).
   24               • Third, property exposed to SARS-CoV-2 also becomes more
   25                  hydrophobic - more likely to repel water - after interaction with the
   26                  coronavirus’s spike proteins. Edris Joonaki et al., Surface Chemistry
   27                  Can Unlock Drivers of Surface Stability of SARS-CoV-2 in a Variety of
   28                  Environmental Conditions, 6 CHEM 2135 (Sept. 2020); Lei Xie et al., A
                                                     21
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    1                  Nanomechanical Study on Deciphering the Stickiness of SARS-CoV-2
    2                  on Inanimate Surfaces, 12 ACS APPLIED MATERIALS & INTERFACES
    3                  58360 (Dec. 18, 2020).
    4               • Finally, as explained below, when viral particles become physically and
    5                  chemically adsorbed into the surfaces of buildings, fixtures, systems,
    6                  and other property, those surfaces are altered from safe surfaces to
    7                  dangerous surfaces through which this deadly virus spreads.
    8         74.      Chemical changes also occur when SARS-CoV-2 is released into the
    9   air within buildings. The same spike proteins that become adsorbed on various solid
   10   surfaces can also react with particulate matter in ambient air, such as minerals, soot
   11   or plastics. Chemical bonding and electrostatic interaction between SARS-CoV-2
   12   spike proteins and ambient particulate matter causes a physical alteration or physical
   13   change in the air upon exposure to the coronavirus. The adsorption of virus spike
   14   proteins by airborne particulates extends the time during which these particles
   15   remain infectious and dangerous. Jérôme F. L. Duval et al., Chemodynamic
   16   Features of Nanoparticles: Application to Understanding the Dynamic Life Cycle of
   17   SARS-CoV-2 in Aerosols and Aqueous Biointerfacial Zones, 290 ADVANCES
   18   COLLOID & INTERFACE SCI. 1 (Feb. 27, 2021); Leonardo Setti et al., SARS-Cov-
   19   2RNA Found on Particulate Matter of Bergamo in Northern Italy: First Evidence,
   20   188 ENVTL. RES. 1 (May 30, 2020).
   21         75.      Infected COVID-19 respiratory droplets adhere to building surfaces –
   22   including fixtures, counters, railings, doors, door handles, elevators and buttons,
   23   seats, tables, floors, restrooms, locker rooms, countertops, food and beverage
   24   concessions, and other high touch points. Once deposited, these surfaces are both
   25   physically and chemically transformed into disease-spreading fomites. If someone
   26   touches an infected surface, the virus can be carried to his or her nose, mouth, or
   27   eyes, where it can enter the body and replicate by the billions.
   28         76.      A study published in the Journal of Epidemiology and Infection
                                                   22
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    1   demonstrated that after lockdown in the United Kingdom, coronavirus transmission
    2   via fomites may have contributed to as many as 25 percent of deaths in that region.
    3   Avery Meiksin, Dynamics of COVID-19 Transmission Including Indirect
    4   Transmission Mechanisms: A Mathematical Analysis, 148 EPIDEMIOLOGY &
    5   INFECTION 1 (Oct. 23, 2020).
    6         77.      Scientific studies have confirmed that the coronavirus remains capable
    7   of being further transmitted from physical surfaces, creating a dangerous property
    8   condition. Significant contamination of inanimate objects, such as floors, ceilings,
    9   fans, sinks, toilet bowls, door handles, and floors have been reported even after
   10   thorough disinfection. Reusable glasses and other common plastic-based products
   11   are easily contaminated and have the potential to spread coronaviruses.
   12               • The coronavirus can remain infectious for “much longer time periods
   13                  than generally considered possible.” Shane Riddell et al., The Effect of
   14                  Temperature on Persistence of SARS-CoV-2 on Common Surfaces, 17
   15                  VIROLOGY J. 1 (Oct. 7, 2020).
   16               • A study of a COVID-19 outbreak published by the CDC identified
   17                  elevator buttons and restroom taps as possible causes of the “rapid
   18                  spread of SARS-CoV-2” in a shopping mall in China. Jing Cai et al.,
   19                  Indirect Virus Transmission in Cluster of COVID-19 Cases, Wenzhou,
   20                  China, 2020, 26 EMERGING INFECTIOUS DISEASES 1343 (June 2020).
   21               • A study published in the April 16, 2020 New England Journal of
   22                  Medicine reported that the virus persisted on plastic and stainless steel.
   23                  Neeltje van Doremalen, Aerosol and Surface Stability of SARS-CoV-2
   24                  as Compared with SARS-CoV-1, 382 NEW ENG. J. MED. 1564 (Apr. 16,
   25                  2020).
   26               • Another study published in the Journal of Hospital Infection found that
   27                  the coronavirus can remain infectious on inanimate surfaces at room
   28                  temperature for well over a week. Günter Kampf et al., Persistence of
                                                    23
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    1              Coronaviruses on Inanimate Surfaces and Their Inactivation with
    2              Biocidal Agents, 104 J. HOSP. INFECTION 246 (Mar. 1, 2020).
    3          • An April 2020 study published in the journal Emerging Infectious
    4              Diseases found a wide distribution of the coronavirus on surfaces in
    5              hospital wards in Wuhan, China, including floors, computer mice, trash
    6              bins, bed handrails, patients’ face masks, health workers’ personal
    7              protective equipment, and air vents. Zhen-Dong Guo et al., Aerosol
    8              and Surface Distribution of Severe Acute Respiratory Syndrome
    9              Coronavirus 2 in Hospital Wards, Wuhan, China, 2020, 26 EMERGING
   10              INFECTIOUS DISEASES 1586 (July 2020).
   11          • Numerous other scientific studies have found that the virus persists on
   12              doorknobs, toilets, faucets, and other high-touch points, as well as on
   13              commonly overlooked surfaces such as floors. Id.
   14          • An article in the Journal of Virology reported that researchers
   15              demonstrated that COVID-19 can survive up to 28 days at room
   16              temperature (68ºF) on a variety of surfaces on which the virus became
   17              integrated through physical and chemical adsorption, including glass,
   18              steel, vinyl, plastic, and paper. Shane Riddell et al., The Effect of
   19              Temperature on Persistence of SARS-CoV-2 on Common Surfaces, 17
   20              VIROLOGY J. 1 (Oct. 7, 2020).
   21          • A CDC report from March 27, 2020, stated that COVID-19 was
   22              identified on surfaces of the cabins on the Diamond Princess cruise ship
   23              17 days after the cabins were vacated. Leah F. Moriarty et al., Public
   24              Health Responses to COVID-19 Outbreaks on Cruise Ships —
   25              Worldwide, February–March 2020, 69 MMWR 347 (Mar. 27, 2020).
   26          •   SARS-CoV-2 can infect and be shed from the human gastrointestinal
   27              tract, thereby contaminating public restrooms and creating another
   28              pathway for spread of the disease through property contamination.
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    1                Viral RNA of SARS-CoV-2 has been detected in stool and RNA
    2                shedding in stool was detected in up to 41 percent of COVID-19
    3                patients. Orofecal transmission of SARS-CoV-2 occurs through
    4                contamination of public facilities through food-handling, as well as
    5                through viral transmission from aerosolized virus following toilet
    6                flushing in public restrooms. Gil Correia et al., Airborne Route and
    7                Bad Use of Ventilation Systems as Non-Negligible Factors in SARS-
    8                CoV-2 Transmission, 141 MED. HYPOTHESES 1 (Apr. 21, 2020).
    9         78.    The presence of the virus on fixtures and building systems physically
   10   alters the underlying building, such that physical alterations are necessary to make
   11   the property safe.
   12         Routine Cleaning Is Not Sufficient to Prevent and Restore Damaged
   13         Property and Prevent Unsafe Property Conditions
   14         79.    Because the coronavirus can spread throughout a property in airborne
   15   particles, it damages building systems, spreads through air flow, and contaminates a
   16   structure. Without proper modifications, repairs, and equipment in place, aerosols
   17   containing the coronavirus recirculate through building systems, such as air
   18   circulation and plumbing systems. Medical researchers have advised that physical
   19   alterations to buildings and fixtures are necessary to remediate the presence of the
   20   coronavirus. In short, physical repairs and alterations of property are required to
   21   render property safe from the coronavirus and return it to a usable state.
   22         80.    Without substantial physical alterations, repairs, and systems changes
   23   to facilities, an infected property cannot remain open to the public. Cleaning of
   24   surfaces alone is insufficient, as touched surfaces will be re-contaminated. Droplets
   25   and aerosols expelled from infected persons physically change the surface by
   26   becoming a part of that surface. As a result of this physical alteration, human
   27   contact with previously safe surfaces become unsafe.
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    1         81.    Unlike surface cleaning of visible substances like dust or debris, where
    2   the degree of “clean” can be visually confirmed to a reasonable degree of certainty,
    3   that is not the case for the cleaning and disinfection of coronavirus because, among
    4   other things: (a) the coronavirus is not visible to the naked eye; (b) the degree and
    5   magnitude of coronavirus is undetectable, so the effectiveness of disinfection cannot
    6   be determined; and (c) viral inactivation through disinfection is different for
    7   different substrates and surfaces (i.e., cardboard, plastic, stainless steel, or copper)
    8   and varies for porous versus nonporous surfaces. As compared to the cleaning of
    9   visible soiling, dirt, and debris, which typically does not require the same
   10   “disinfection” of surfaces as required for viral contamination, the uncertainty
   11   involved in the effectiveness of disinfection of surfaces for something invisible (i.e.,
   12   the coronavirus) makes cleaning a much more complicated and less effective
   13   process.
   14         82.     A number of studies have also demonstrated that the coronavirus is
   15   “much more resilient to cleaning than other respiratory viruses so tested.” Nevio
   16   Cimolai, Environmental and Decontamination Issues for Human Coronaviruses and
   17   Their Potential Surrogates, 92 J. MED. VIROLOGY 2498 (June 12, 2020). The
   18   measures that must be taken to attempt to remove and disinfect the coronavirus from
   19   property are significant and depend on the concentration of the coronavirus, myriad
   20   surface characteristics (e.g., type of surface, temperature, porosity) and extend far
   21   beyond ordinary or routine cleaning. Moreover, the toxicity of an agent may inhibit
   22   the growth of cells used to determine the presence of virus, making it difficult to
   23   determine if lower levels of infectious virus are actually still present on treated
   24   surfaces.
   25         83.    Without repairs and physical alterations like those implemented at the
   26   Staples Center and the other properties, see ¶¶ 93-94, even a strict cleaning regimen
   27   would be inadequate to eradicate all viral particles. It is difficult to locate and reach
   28   every contaminated surface. And, due to the manner in which the virus spreads, it is
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    1   difficult to completely eradicate the virus, particularly in an arena, even with robust
    2   and comprehensive routine cleaning protocols. In any event, given the ubiquity and
    3   pervasiveness of the coronavirus, no amount of cleaning or ventilation intervention
    4   will prevent an infected person who is contagious from entering an indoor space and
    5   exhaling millions of additional coronavirus droplets and infectious aerosols into the
    6   air, thereby further filling the air and physically altering it with aerosolized virus
    7   particles that can be inhaled; and depositing infectious droplets on the surfaces,
    8   physically altering and transforming those surfaces into disease-transmitting
    9   fomites.
   10         84.    In short, the coronavirus damages properties by physically altering their
   11   condition such that they are no longer fit for occupancy or use without extensive
   12   repairs and physical alterations necessary to repair the physical damage and make
   13   the properties safe. Indeed, the virus damages the air within buildings such that the
   14   air is no longer safe to breathe, and attaches itself to surfaces, physically changing
   15   the condition of those surfaces from safe to unsafe. It contaminates building
   16   systems, such as ventilation and plumbing.
   17         85.    Without the kinds of significant repairs and physical alterations that
   18   were made at the Staples Center to make it safe and fit for use, the virus would
   19   continue to damage the air and make it unsafe to breathe, and attach itself to and
   20   physically change the condition of building surfaces. In structures like arenas,
   21   substantial repairs and physical alterations must be made to prevent ongoing and
   22   future property damage and protect public health and safety.
   23         86.    The persistent presence of the coronavirus on surfaces and in the air
   24   damages buildings, fixtures, systems, and personal property and renders such
   25   properties unsafe and unfit for occupancy and use without repairs and physical
   26   alterations. The coronavirus has a material physical existence; is contained in
   27   respiratory droplets and aerosols; becomes adsorbed into and chemically bonded
   28   with, and alters the surfaces of property from once safe surfaces to fomites
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    1   containing the virus; and alters the physical condition of air in buildings, all of
    2   which constitutes physical damage to the properties.
    3               ii.         The Lakers Have Suffered “Direct Physical Loss or Damage”
    4                           to Their Property
    5         87.         On March 19, 2020, two Lakers players who had played games at the
    6   Staples Center during the first eleven days of March 2020 tested positive for the
    7   coronavirus. Other players from teams who played games at the Staples Center
    8   during the same period—including four NBA players from the Brooklyn Nets and
    9   eight NHL hockey players from the Ottawa Senators and Colorado Avalanche (in
   10   addition to one member of the Senators’ staff)—also tested positive. In addition,
   11   based on statistical analyses, other coronavirus-positive individuals were also
   12   undoubtedly present at the arena.
   13         88.         The existence and presence of the coronavirus at the Lakers’ properties
   14   and surrounding properties were not reflected completely in the reported cases or
   15   individuals’ positive test results, as only a fraction of the population was tested
   16   around that time. For example, in June 2020, the Centers for Disease Control and
   17   Prevention (“CDC”) estimated that the number of people in the United States who
   18   had been infected with COVID-19 was ten times higher than the number of reported
   19   cases. Lena H. Sun & Joel Achenbach, CDC Chief Says Coronavirus Cases May Be
   20   10 Times Higher than Reported, WASH. POST (June 25, 2020),
   21   https://www.washingtonpost.com/health/2020/06/25/coronavirus-cases-10-times-
   22   larger/. Additionally, at least 40 percent of people infected with COVID-19 were
   23   asymptomatic. Ellen Cranley, 40% of People Infected with Covid-19 Are
   24   Asymptomatic, A New CDC Estimate Says, BUS. INSIDER (July 12, 2020),
   25   https://www.businessinsider.com/cdc-estimate-40-percent-infected-with-covid-19-
   26   asymptomatic-2020-7.
   27         89.         The complications with detecting and stopping the spread of COVID-
   28   19 is further amplified because COVID-19 has a pre-symptomatic incubation period
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    1   of up to 14 days, during which time infected people can transmit COVID-19 to other
    2   people by releasing infectious droplets and aerosols into the air and onto surfaces
    3   without experiencing any symptoms or realizing that they are contagious or infected.
    4   See WHO, CORONAVIRUS DISEASE 2019 (COVID-19) SITUATION REPORT - 73 (Apr.
    5   2, 2020); Minghui Yang et al., SARS-CoV-2 Detected on Environmental Fomites for
    6   Both Asymptomatic and Symptomatic Patients with COVID-19, 203 AM. J.
    7   RESPIRATORY & CRITICAL CARE 374 (Feb. 1, 2021).
    8            90.     Studies have demonstrated that pre-symptomatic individuals have an
    9   even greater ability to transmit COVID-19 than other infected people because they
   10   carry high levels of “viral load” during a period when they have no symptoms and
   11   therefore are unaware that they are infectious. See, e.g., Xi He et al., Temporal
   12   Dynamics in Viral Shedding and Transmissibility of COVID-19, 26 NATURE MED.
   13   672 (Apr. 15, 2020); Lirong Zou et al., SARS-CoV-2 Viral Load in Upper
   14   Respiratory Specimens of Infected Patients, 382 NEW ENG. J. MED. 1177 (Mar. 19,
   15   2020). The National Academy of Sciences has concluded that “the majority of
   16   transmission is attributable to people who are not exhibiting symptoms, either
   17   because they are still in the pre-symptomatic stage or the infection is
   18   asymptomatic.” Meagan C. Fitzpatrick et al., The Implications of Silent
   19   Transmission for the Control of COVID-19 Outbreaks, 117 PNAS 17513 (July 28,
   20   2020).
   21            91.     For the reasons explained in Paragraphs 53-86, incorporated herein, the
   22   actual presence of the coronavirus at the Staples Center physically damaged the
   23   property in a number of ways, including the following:
   24                  • Viral particles were released into the air by infected persons in the
   25                     Staples Center who were breathing, shouting, engaged in physical
   26                     exertion and athletic activities, singing, coughing, and speaking. The
   27                     virus was contained in respiratory droplets and aerosols that circulated
   28                     throughout the arena through indoor airflow and ventilation and air
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    1                 circulation systems. The viral particles were adsorbed into airborne
    2                 particulates when chemical reactions caused the viral spike proteins to
    3                 bond chemically with those particles. These infectious viral particles
    4                 contaminated building systems such as vents and ductwork of building
    5                 air and HVAC systems into which they became adsorbed through
    6                 physical, chemical, and electrostatic reactions.
    7              • Viral particles dispersed throughout the Staples Center fell onto the
    8                 surfaces of fabric seats (into which the viral particles became
    9                 enmeshed into the fabric surfaces and adsorbed into metal and plastic
   10                 surfaces), playing surfaces, equipment, locker rooms and training
   11                 rooms, counters, railings, stairs and flooring, tables, concession areas,
   12                 food service facilities, plumbing fixtures and systems, food and
   13                 beverage vending areas, elevators and their buttons and control panels
   14                 and other frequently-touched areas; and contamination through fecal
   15                 virus contamination of public restrooms, toilets, faucets, and plumbing
   16                 fixtures and systems. Upon reaching these surfaces, the viral particles
   17                 were adsorbed into the surfaces and cracks through physical, chemical,
   18                 and electrostatic reactions causing the viral particles to bond with,
   19                 become integrated into, and affixed to, these surfaces. The physical,
   20                 chemical and electrostatic reactions as part of the adsorption process
   21                 and resulting chemical bonding of viral particles into these surfaces
   22                 throughout the buildings damaged the surfaces of these fixtures,
   23                 furniture, and systems by making them rougher and more
   24                 hydrophobic; transformed those property surfaces into virus-
   25                 contaminated fomites through which the virus spread; and thus
   26                 physically damaged these fixtures and equipment throughout the arena
   27                 and contaminated key building systems.
   28        92.     The physical damage caused by the presence of the virus at the Staples
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    1   Center made it unusable for hosting Lakers games with fans in attendance for
    2   months, so that physical alterations and building system changes could be made to
    3   the property to make it safe for fans to attend. Because of the presence of the
    4   coronavirus and/or the government orders, until those changes were made, the
    5   Lakers were unable to invite fans into the Staples Center and thus were unable to
    6   use their property for its intended purpose and suffered physical loss to the property.
    7         93.    The physical alterations, repairs, and building system changes made at
    8   the Staples Center over many months included:
    9         (1) replacements and upgrades of all air filters to MERV 15 standards to
   10         remove extremely small airborne particles of dust, pollen, bacteria, and virus
   11         to try to reduce the circulation of viral particles throughout the building and
   12         onto surfaces of systems and other property and prevent adsorption of viral
   13         particles with particulates in the building air circulation systems and resulting
   14         damage to additional building surfaces;
   15          (2) the addition of numerous hand sanitizing stations; the installation of
   16         hundreds of touchless plumbing fixtures, such as touchless toilets and sinks;
   17         the installation of nanoseptic sleeves and coatings over elevator buttons and
   18         door handles and other high-touch surfaces; and touchless light switches; to
   19         prevent or reduce the physical and chemical adsorption of viral particles into
   20         those surfaces in order to prevent unsafe conditions from viral contamination
   21         and to replace property in which surfaces of high-touch areas and other
   22         fixtures became unsafe fomites once the virus became integrated with them,
   23         as well as surfaces that became damaged as a result of physical and chemical
   24         alterations, roughness, and other physical alterations from adsorption of viral
   25         particles; and
   26         (3) the reconfiguration of physical space including the installation of
   27         numerous plexiglass dividers; and the installation of additional air filters.
   28         94.    To ensure the safety of the arena for the public and to protect against
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    1   further property damage, the Staples Center implemented physical measures and
    2   practices to receive performance-based accreditation under the GBAC STAR
    3   Accreditation Program on Cleaning, Disinfection, and Infectious Disease Prevention
    4   for Facilities. This program requires facilities to establish and maintain, for as long
    5   as necessary to ensure safety, an infectious disease prevention program to minimize
    6   risk associated with infectious agents such as the coronavirus to protect employees,
    7   customers, clients, visitors, the community, and the environment. Among the
    8   numerous requirements of the GBAC accreditation program are engineering
    9   controls for sanitization and disinfection; automated cleaning and disinfection
   10   technologies; touchless facilities and technologies; surfaces, objects, and equipment
   11   having long-term antibacterial and antiviral properties; HVAC systems with
   12   ultraviolet cleaning and air filtration; and physical barriers to prevent person-to-
   13   person contact.
   14               iii.         The Direct Physical Loss or Damage to the Lakers’ Property
   15                            Interrupted its Business
   16         95.          Over 200,000 fans attended Lakers games at the Staples Center and
   17   watched the Lakers play over a dozen home games in January and February 2020.
   18   The Lakers also hosted a special event at the Staples Center commemorating the
   19   tragic death of Lakers legend Kobe Bryant, with so many in attendance that the
   20   Staples Center was filled to capacity. Many other fans gathered on the property
   21   outside. The Los Angeles Clippers and Los Angeles Kings also played frequently at
   22   the Staples Center in January and February. The Grammy Awards were held there
   23   on January 26. Prior to its shutdown, the Staples Center was almost never empty for
   24   more than a day or two during the NBA and NHL seasons. It was only a matter of
   25   time until the coronavirus infiltrated and damaged the property and individuals
   26   became infected.
   27         96.          By the end of February, the Staples Center began implementing
   28   changes to protect the property from further loss or damage and prevent the
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    1   presence and transmission of the virus between attendees at events. Beginning in
    2   March, it took steps to make the facility increasingly “touchless,” added nearly 200
    3   hand sanitizer stations, and made other changes to minimize entrants’ risk of coming
    4   into contact with the virus.
    5         97.    Between March 3 and March 11, 2020, the Lakers played four games at
    6   the Staples Center, against the Philadelphia 76ers, Milwaukee Bucks, Los Angeles
    7   Clippers, and Brooklyn Nets. The Kings also played four home games at the Staples
    8   Center during that stretch.
    9         98.    On March 10, 2020, the same day as a Lakers home game against the
   10   Nets, Governor Newsom held a news conference expressing concern about fan
   11   exposure to the coronavirus while attending NBA games in California. While he
   12   stopped short of calling for games to be canceled, Governor Newsom said sports
   13   leagues and local health officials bore the responsibility to ensure that large events,
   14   including games, could be held safely.
   15         99.    On March 11, 2020, the NBA cancelled a game between the Utah Jazz
   16   and the Oklahoma City Thunder after a player on the Jazz tested positive for the
   17   coronavirus. The NBA also announced a “hiatus” of gameplay “to determine next
   18   steps for moving forward in regard to the coronavirus.”
   19         100. Within hours of the NBA’s announcement, Governor Newsom and the
   20   California Department of Public Health called for the postponement or cancellation
   21   of gatherings with more than 250 people in attendance, including all professional
   22   sporting events. The following day, the Governor issued Executive Order N-25-20,
   23   stating: “All residents are to heed any orders and guidance of state and local public
   24   health officials, including but not limited to the imposition of social distancing
   25   measures, to control the spread of COVID-19.”
   26         101. Also on March 12, 2020, the NBA announced that its hiatus would last
   27   at least 30 days.
   28         102. On March 15, 2020, Los Angeles Mayor Eric Garcetti issued a “Public
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    1   Order Under City of Los Angeles Emergency Authority.” All live performance
    2   venues were closed to the public.
    3         103. Mayor Garcetti followed his March 15 order with a “Safer at Home”
    4   order on March 19, 2020, which explained that its mandates resulted from the risk
    5   coronavirus posed to “life and property in the City of Los Angeles.” The same point
    6   was made on April 1, 2020, when Mayor Garcetti revised the order to include an
    7   explanation of its purpose: “This Order is given because, among other reasons, the
    8   COVID-19 virus can spread easily from person to person and it is physically
    9   causing property loss or damage due to its tendency to attach to surfaces for
   10   prolonged periods of time.” (Emphasis added.) The Safer at Home Order stated
   11   that a failure to comply would “constitute a misdemeanor subject to fines and
   12   imprisonment” and directed the Los Angeles Police Department and city prosecutors
   13   to “vigorously enforce” its requirements.
   14         104. On March 16, 2020, the County of Los Angeles Department of Public
   15   Health issued a “Health Officer Order for the Control of COVID-19,” which
   16   prohibited all indoor public and private gatherings of 50 or more individuals,
   17   including athletic events and events in arenas, and required the closure of gyms and
   18   fitness centers.
   19         105. On March 19, 2020, the County of Los Angeles supplanted its
   20   March 16 order with a new “Safer at Home Order.” It prohibited public gatherings
   21   of more than ten people. The county orders carried the weight of law, and their
   22   violation was “a crime punishable by fine, imprisonment, or both.”
   23         106. Also on March 19, Governor Newsom issued Executive Order
   24   N-33-20, requiring Californians to “stay home or at their place of residence except
   25   as needed to maintain continuity of operations of the federal critical infrastructure
   26   sectors.” The order incorporated Government Code 8665, under which “[a]ny
   27   person . . . who refuses or willfully neglects to obey any lawful order . . . issued as
   28   provided in this chapter, shall be guilty of a misdemeanor and, upon conviction
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    1   thereof, shall be punishable by a fine of not to exceed one thousand dollars ($1,000)
    2   or by imprisonment for not to exceed six months or by both such fine
    3   and imprisonment.”
    4         107. Although these orders do not mention the Staples Center by name, the
    5   arena, which is less than two miles from Los Angeles City Hall, was undoubtedly
    6   contemplated as one of its principal subjects. This is particularly true for the orders
    7   issued by Los Angeles County and City, where the Staples Center is the only
    8   property of its kind. The Lakers, Clippers, Sparks, and Kings all play at the Staples
    9   Center. Thus, any reference to sports arenas in the county and city orders is a de
   10   facto reference to the Staples Center. The decision to close Los Angeles sports
   11   arenas to the public was functionally a determination that the Staples Center
   12   specifically must remain closed.
   13         108. The decisions of State, County, and City leaders in mid-March to
   14   prohibit games at the Staples Center were based upon their assessment that the virus
   15   was already present at the property and that allowing access would result in further
   16   damage to the arena and worsen its spread.
   17         109. That assessment proved accurate. In the weeks following the initial
   18   shutdown, athletes from multiple teams who had played at the Staples Center in
   19   early March 2020 tested positive for the coronavirus, confirming its presence and
   20   spread at the property during that time.
   21         110. On March 17, 2020, the Brooklyn Nets, the last team to play the Lakers
   22   at the Staples Center before the hiatus, announced that four of their players had
   23   tested positive for the coronavirus.
   24         111. In response, public health officials and Lakers team physicians
   25   recommended that Lakers players be tested as well. On March 19, 2020, two Lakers
   26   players tested positive.
   27
   28
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    1         112. Three individuals in the Philadelphia 76ers organization, the team that
    2   had played the Lakers at the Staples Center on March 3, 2020, tested positive for the
    3   coronavirus on the same day.
    4         113. On March 17 and 21, 2020, two players from the NHL’s Ottawa
    5   Senators, who had played the Los Angeles Kings at the Staples Center on March 11,
    6   tested positive. By April 1, 2020, three more players on the team and one member
    7   of the Ottawa Senators’ staff tested positive. All had been at the Staples Center for
    8   the March 11 game.
    9         114. Three players from the NHL’s Colorado Avalanche, who had played
   10   the Los Angeles Kings at Staples on March 9, later also tested positive.
   11         115. In the first few weeks of March 2020, fully half of all coronavirus cases
   12   among NBA and NHL players involved athletes who were present at the Staples
   13   Center during the infectious period. Every reported coronavirus-positive test of an
   14   NHL player involved someone who was at the Staples Center in March.
   15         116. On June 4, 2020, the NBA announced a tentative season restart date of
   16   July 31, on a reduced schedule. NBA games were played in an isolation zone or
   17   “bubble” at Walt Disney World Resort in Orlando, Florida. The Lakers could not
   18   host a home game with fans in attendance at the Staples Center between March 10,
   19   2020 and April 15, 2021, when the State of California’s Blueprint for a Safer
   20   Economy allowed operators to reopen for indoor seated live events and
   21   performances subject to strict protocols governing those events. During that 13-
   22   month period without fans at the Staples Center, the Lakers won the 2019-20 NBA
   23   Championship. This not only resulted in a significant loss of income, but caused the
   24   Lakers to incur substantial extra expenses.
   25         117. The Lakers were also harmed as a result of the physical damage caused
   26   by the coronavirus to the properties of other NBA teams. The other teams against
   27   which the Lakers play both provide services to the Lakers and receive services from
   28   the Lakers. For example, during home games, the Lakers supply their arena and
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    1   related game-day services to the visiting team, as well as making their team
    2   available to the visiting team to play against. And the visiting team provides the
    3   reciprocal services of its team to play against the Lakers. During away games, this
    4   mutual relationship is reversed. As NBA arenas closed across the country as a result
    5   of the coronavirus, the Lakers lost considerable business income and were required
    6   to incur substantial extra expenses. These losses were insured under the Policy’s
    7   Dependent Business Premises coverage.
    8             iv.       Civil Authority Orders Resulting from Physical Loss or
    9                       Damage to Nearby Properties also Prohibited Access to The
   10                       Lakers’ Property
   11         118. The Staples Center is across the street from Pico Station on L.A.’s
   12   Metro, which many fans use to travel to Lakers games. Four other Metro stations
   13   are within a mile of the Staples Center, including the 7th Street/Metro Center
   14   Station—the heart of the entire Metro rail network.
   15         119. The Metro system has been deeply impacted by the coronavirus. Metro
   16   reports 1,640 confirmed coronavirus cases among employees and contractors (riders
   17   have not been counted). The first case was documented on March 23, 2020,
   18   although epidemiologists confirm that the coronavirus was present in the Metro
   19   system much earlier. One of the reasons Los Angeles County and the City of Los
   20   Angeles prevented public access to Lakers games at the Staples Center was to
   21   prevent thousands of fans crowding into the Metro system and Pico Station,
   22   spreading the virus in metro cars, stations, and ultimately to all four corners of L.A.
   23         120. As Mayor Garcetti’s orders stated, the coronavirus had already begun
   24   causing significant damage to property in Los Angeles, including within one mile of
   25   the Staples Center. The orders were issued because of the presence of the virus at
   26   properties in these areas and to minimize its spread by reducing the likelihood
   27   of exposure. The actual presence of the virus at these surrounding properties
   28   damaged those properties in the ways explained above and Paragraphs 53 to 86 are
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    1   incorporated herein.
    2                v.      The Coronavirus Also Caused Physical Damage to The
    3                        UCLA Health Training Center
    4           121. Like the Staples Center, the UCLA Health Training Center (located at
    5   2275 E. Mariposa Avenue, El Segundo, California 90245) is a covered property
    6   under the Policy.
    7           122. The Lakers and their affiliated NBA “G League” team, 5 the South Bay
    8   Lakers (owned by a wholly-owned subsidiary of The Los Angeles Lakers, Inc., LAL
    9   G Team, LLC), practice and train at the UCLA Health Training Center. The UCLA
   10   Health Training Center is the home arena for the South Bay Lakers, serves as office
   11   space for the Lakers organization, and hosts other Lakers-related events.
   12           123. The Lakers reasonably expected that if a virus on the property or a
   13   government shut-down order prevented them from carrying on training activities,
   14   administrative functions, or playing South Bay Lakers’ home games at the UCLA
   15   Health Training Center, Chubb would cover those losses.
   16           124. Testing of Lakers players who trained at the UCLA Health Training
   17   Center revealed that two athletes had contracted the coronavirus, demonstrating that
   18   the virus was present at and spread at the property during early March 2020.
   19           125. In addition to the applicable State and County orders restricting use of
   20   the UCLA Health Training Center, the City of El Segundo on March 19, 2020
   21   issued “Administrative Order No. 2 to Address COVID-19” applying the Los
   22   Angeles Safer at Home Order as “necessary for the protection of life and property.”
   23   (Emphasis added.)
   24           126. The presence of the coronavirus at the UCLA Health Training Center
   25   caused physical loss or damage by infiltrating the property, dispersing through the
   26   air, and becoming adsorbed into and affixed to fixtures such as seating, concession
   27
        5
   28       The G League is the NBA’s official minor league.
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    1   areas, playing surfaces, and equipment. Additional physical damage occurred as the
    2   virus entered key building systems and spread to surfaces throughout the building in
    3   the manner explained above (Paragraphs 53 to 86 are incorporated herein).
    4         127. The presence of the virus at the UCLA Health Training Center thus
    5   physically altered the property and rendered it unusable as either the Lakers’
    6   practice site or for hosting South Bay Lakers NBA G League games. All South Bay
    7   Lakers games were cancelled for the remainder of the season.
    8         128. More than 120 Lakers employees who work at the UCLA Health
    9   Training Center have been denied access to their workspaces, requiring the Lakers
   10   to facilitate at substantial cost its staff working from home. Office work at the
   11   UCLA Health Training Center still has not been permitted to resume.
   12         129. Many of the Lakers’ sponsorship contracts include use of the training
   13   center for events like tours, autograph-signings, or corporate functions. Beginning
   14   in March, all these events were cancelled, and the Lakers were forced to provide
   15   other services and sponsorship assets to replace those that were unavailable because
   16   the UCLA Health Training Center was closed—services and sponsorship assets the
   17   Lakers otherwise could have charged money to provide.
   18         130. On April 27, 2020, the NBA announced that team practice facilities
   19   could re-open on a limited basis in certain cities, subject to applicable local
   20   government restrictions. However, at that time, the Lakers were not able to resume
   21   workouts at the UCLA Health Training Center in view of the State of California and
   22   Los Angeles County orders.
   23         131. In June 2020, the Los Angeles County Department of Public Health
   24   published its Protocol for Professional Sports Leagues and Facilities Opening for
   25   Training Sessions and Spectator-Free Events, effective as of June 12, 2020. Around
   26   that time, the Lakers began discussions with the Los Angeles County Department of
   27   Public Health about returning to the UCLA Health Training Center in a limited
   28   capacity. Only after consultation with County health officials in mid-June were the
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    1   Lakers able to resume voluntary training and treatment activities, subject to
    2   numerous limitations and implementation of extensive—and expensive—procedures
    3   and protocols.
    4         132. Before reopening, the Lakers were required to conduct a deep clean of
    5   the UCLA Health Training Center and install hospital-grade air filters and air
    6   ionization purifiers in the HVAC system. The Lakers also built a decontamination
    7   station so that those entering the building could remove potentially contaminated
    8   shoes and wear sanitized slippers.
    9         133. When training restarted, it was subject to strict limits on the number of
   10   players in the building and required daily testing and regular sanitation, including
   11   sanitation of training and sports equipment after contact by players.
   12         C.     Chubb Wrongfully Denies Coverage to the Lakers, Breaches the
   13                Policy, and Breaches its Duty of Good Faith & Fair Dealing
   14         134. The Lakers provided timely notice of their claims for coverage to
   15   Chubb. However, in a May 14, 2020 letter, Chubb wrongfully denied coverage for
   16   all of the Lakers’ losses.
   17         135. As an insurer doing business in California, Chubb is subject to
   18   California’s Fair Claims Settlement Practices Regulations, 10 CCR § 2695.1 et seq.
   19   These regulations include the following requirement:
   20               Where an insurer denies or rejects a first party claim, in whole
   21               or in part, it shall do so in writing and shall provide to the
                    claimant a statement listing all bases for such rejection or
   22               denial and the factual and legal bases for each reason given for
   23               such rejection or denial which is then within the insurer’s
                    knowledge. Where an insurer’s denial of a first party claim, in
   24               whole or in part, is based on a specific statute, applicable law
   25               or policy provision, condition or exclusion, the written denial
                    shall include reference thereto and provide an explanation of
   26               the application of the statute, applicable law or provision,
   27               condition or exclusion to the claim.
   28   10 CCR § 2695.7(b)(1) (emphases added). The claims regulations also require
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    1   Chubb to “provide thorough and adequate training regarding the [Claims]
    2   regulations to all their claims agents.” 10 CCR § 2695.6.
    3         136. At the time Chubb denied the Lakers’ claims on May 14, 2020, it and
    4   its claims agents were aware of their regulatory obligations, so Chubb intentionally
    5   relinquished any basis for denying coverage not specifically identified in the May 14
    6   letter. Any attempt to invoke a basis for rejecting coverage not stated in that letter
    7   would be so inconsistent with the claims regulations as to induce a reasonable belief
    8   that any such additional basis has been relinquished.
    9         137. In the May 14 letter, Chubb denied coverage for the Lakers’ property
   10   and business interruption claims because the coronavirus had supposedly not caused
   11   any “direct physical loss or damage.” The Lakers’ civil authority claims were
   12   denied because, according to Chubb, civil orders had neither “prohibited access” to
   13   the Staples Center or other covered property nor resulted from “direct physical loss
   14   or damage” at a nearby property.
   15         138. Chubb performed no investigation whatsoever before denying coverage
   16   to the Lakers. It conducted no interviews. It did not perform any testing. In fact, all
   17   Chubb did was send the Lakers a form denial letter. That letter was signed by a
   18   claims-handler named Richard B. Johnstone. Mr. Johnstone, like other claims
   19   handlers, had been directed by the very highest levels of Chubb never to approve
   20   COVID-related business interruption claims under any circumstances.
   21         139. Consistent with the statements of its CEO quoted at paragraph 24
   22   above, that Chubb would not honor claims for business interruption arising from the
   23   coronavirus, Chubb published a “Final – March 26, 2020” notice nearly two months
   24   before denying the Lakers’ claim. That notice said:
   25              Business interruption insurance generally covers losses to your
   26              business’ income that result from disruption of your business.
                   The disruption must be caused by physical loss or damage to
   27              your property by a “covered peril.” The presence of an
   28              infectious agent or communicable disease at a location where
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                   there is covered property generally will not mean that property
    1
                   has suffered “physical loss or damage” under your policy.
    2              Generally, “physical loss or damage” means that the physical
                   structure or physical characteristics of the property have been
    3
                   altered by a “covered peril.” Loss of use, or diminished value
    4              of property that has not been physically altered will not be
                   considered “physical loss or damage.”
    5
    6   Despite the notice purporting to be “final,” scientific knowledge and study
    7   of the virus and its methods of transmission were at that time still in
    8   their infancy.
    9         140. Nowhere in the Policy is “physical loss or damage” defined. Nowhere
   10   does the Policy say that the “physical structure” or “physical characteristics” of a
   11   property must be “altered” for coverage to apply. Moreover, Chubb did no
   12   investigation to determine whether the “physical characteristics of the property”
   13   covered by the Policy were in fact “altered.” Had it done so, Chubb would have
   14   concluded that the Lakers’ claim was covered, even under its own standard.
   15         141. Chubb created and published this notice—along with a “What You
   16   Need to Know” page on its website making similar statements—in an effort to
   17   dissuade and intimidate policyholders such as the Lakers from pursuing valid claims
   18   for coverage under Chubb’s policies. It falsely represented that the coronavirus
   19   does not cause “physical loss or damage” to property.
   20         142. Chubb’s denial is part of a consistent and unremedied pattern of
   21   denying coverage for property and business interruption claims arising out of the
   22   coronavirus pandemic, with intentional disregard of its obligations to policyholders.
   23   This greed has impacted not only the Lakers but millions of hard-working
   24   Americans.
   25                                 FIRST CLAIM FOR RELIEF
   26                                     (Declaratory Judgment)
   27         143. The Lakers refer to above paragraphs 1 through 142, inclusive, and by
   28   this reference incorporate the same as though fully set forth.
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    1         144. The Policy constitutes a valid and enforceable written contract between
    2   the Lakers, on the one hand, and Chubb, on the other.
    3         145. The Lakers have complied with all applicable terms and conditions of
    4   the Policy including the timely payment of premiums due under the Policy.
    5         146. Pursuant to the terms of the Policy, including the property, business
    6   interruption, and civil authority coverages, Chubb is obligated to provide coverage
    7   to the Lakers, up to the respective limits of liability, for property and business
    8   interruption and time element losses and extra expenses.
    9         147. The Lakers have incurred losses that are covered under multiple
   10   coverage grants in the Policy and submitted claims for coverage to Chubb.
   11         148. Chubb has wrongfully denied coverage for the Lakers’ losses and
   12   disputes that it has any coverage obligation under the Policy.
   13         149. An actionable and justiciable controversy exists between the Lakers
   14   and Chubb concerning the parties’ rights and obligations under the Policy, and the
   15   Lakers are entitled to a declaration with respect to Chubb’s coverage obligations
   16   under the Policy.
   17         150. Under 28 U.S.C. § 2201, this Court should enter a declaratory
   18   judgment in favor of the Lakers and against Chubb declaring that the Lakers are
   19   entitled to coverage for its claims under the Policy and, under 28 U.S.C. § 2202, any
   20   other relief this Court deems proper.
   21                             SECOND CLAIM FOR RELIEF
   22                                    (Breach of Contract)
   23         151. The Lakers refer to above paragraphs 1 through 150, inclusive, and by
   24   this reference incorporate the same as though fully set forth.
   25         152. The Policy constitutes a valid and enforceable written contract between
   26   the Lakers, on the one hand, and Chubb, on the other.
   27         153. The Lakers have complied with all applicable terms and conditions of
   28   the Policy including the timely payment of premiums due under the Policy.
                                                   43
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    1         154. Pursuant to the terms of the Policy, including the property, business
    2   interruption, and civil authority coverages, Chubb is obligated to provide coverage
    3   to the Lakers, up to the respective limits of liability, for property and business
    4   interruption and time element losses and extra expenses.
    5         155. Chubb has breached its obligations under the Policy by wrongfully
    6   denying the Lakers’ claims for coverage and refusing and failing to pay their
    7   covered losses.
    8         156. The Lakers have been damaged and continue to sustain damages due to
    9   Chubb’s breaches of the Policy in an amount to be determined at trial but anticipated
   10   to be up to or beyond the limits of the Policy.
   11         157. As a result of Chubb’s breaches of the Policy, the Lakers request entry
   12   of judgment for breach of contract, awarding payment of damages in an amount to
   13   be proven at trial.
   14                              THIRD CLAIM FOR RELIEF
   15          (Breach of the Implied Covenant of Good Faith and Fair Dealing)
   16         158. The Lakers refer to above paragraphs 1 through 157, inclusive, and by
   17   this reference incorporate the same herein as though fully set forth.
   18         159. The Policy constitutes a valid and enforceable written contract between
   19   the Lakers, on the one hand, and Chubb, on the other.
   20         160. The Lakers have complied with all applicable terms and conditions of
   21   the Policy including the timely payment of premiums due under the Policy.
   22         161. The Policy includes an implied covenant that Chubb will act in good
   23   faith and deal fairly with the Lakers.
   24         162. Chubb breached the implied covenant of good faith and fair dealing by
   25   among other things (a) denying the Lakers’ claim for coverage without any
   26   reasonable basis; (b) denying the Lakers’ claim without conducting a fair and proper
   27   investigation; (c) misrepresenting the terms of the Policy in denying coverage;
   28   (d) acting solely in its own economic interests and without any regard for the
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    1   interests of its policyholder, the Lakers; and (e) compelling the Lakers to file this
    2   lawsuit to obtain the coverage owed under the Policy.
    3         163. As a result of Chubb’s breaches of the implied covenant of good faith
    4   and fair dealing, the Lakers have incurred substantial damages, including but not
    5   limited to the attorneys’ fees they are being forced to incur to obtain the coverage
    6   owed under the Policy.
    7         164. Because Chubb’s conduct was malicious and oppressive, and because it
    8   was part of a broader fraudulent and malicious scheme by Chubb to avoid its
    9   coverage obligations for claims arising out of the coronavirus pandemic, the Lakers
   10   are also entitled to punitive damages.
   11         165. As a result of Chubb’s breaches of its duty of good faith and fair
   12   dealing, the Lakers request entry of judgment, awarding payment of damages,
   13   including but not limited to attorneys’ fees, as well as punitive damages.
   14                                  PRAYER FOR RELIEF
   15         WHEREFORE, Plaintiff prays that the Court enter judgment ordering
   16   as follows:
   17         On the First Claim for Relief: For a judicial declaration that Chubb is
   18   obligated to provide coverage to the Lakers under the Policy for the Lakers’ losses
   19   and whatever further relief the Court deems proper.
   20         On the Second Claim for Relief: For damages in an amount in excess of
   21   $75,000 to be determined at trial, together with prejudgment and post-
   22   judgment interest.
   23         On the Third Claim for Relief: For damages in excess of $75,000 to be
   24   determined at trial, attorneys’ fees, and punitive damages, together with
   25   prejudgment and post-judgment interest.
   26         On all Claims for Relief:
   27         1.      For the Lakers’ costs of suit; and
   28         2.      For such other and further relief as the Court may deem just.
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    1   DATED: October 6, 2021           PROSKAUER ROSE LLP
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    2                                    KYLE A. CASAZZA
    3                                    SHAWN S. LEDINGHAM
                                         JOHN E. FAILLA (admitted pro hac vice)
    4                                    NATHAN R. LANDER (admitted pro hac
                                         vice)
    5
    6
                                         By:          /s/ Manuel F. Cachán
    7                                                Manuel F. Cachán
    8                                    Attorneys for Plaintiff
                                         THE LOS ANGELES LAKERS, INC.
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    1                               DEMAND FOR JURY TRIAL
    2          Plaintiff hereby demands a jury trial in the above-entitled action on all claims
    3   for relief for which plaintiff is entitled to a trial by jury.
    4
    5
        DATED: October 6, 2021                    PROSKAUER ROSE LLP
    6                                             MANUEL F. CACHÁN
                                                  KYLE A. CASAZZA
    7                                             SHAWN S. LEDINGHAM
                                                  JOHN E. FAILLA (admitted pro hac vice)
    8                                             NATHAN R. LANDER (admitted pro hac
                                                  vice)
    9
   10
                                                  By:              /s/ Manuel F. Cachán
   11                                                             Manuel F. Cachán
   12                                             Attorneys for Plaintiff
                                                  THE LOS ANGELES LAKERS, INC.
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